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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       OCALA DIVISION

 JAVIER G. HEREZI,

        Plaintiff,

 v.                                                            Case No: 5:23-cv-646-GAP-PRL

 31-W INSULATION CO., INC. and
 HUNTSMAN BUILDING
 SOLUTIONS (USA) LLC,

        Defendants.


                                             ORDER

        Pending before the Court is Defendant 31-W Insulation Co., Inc.’s motion to extend

 the disclosure of expert reports deadline. (Doc. 39). Defendant requests that the deadline for

 disclosing its expert reports in the Case Management and Scheduling Order and Referral to

 Mediation (Doc. 13) be extended from December 27, 2024 to February 15, 2025.1 Defendant

 recites in the motion that Plaintiff has agreed to extend Defendant’s deadline to disclose

 expert reports for an additional 15 days but does not agree that the deadline should be

 extended to February 15, 2025.

        Because Plaintiff opposes the relief requested, it appears that Plaintiff may file a

 response in opposition to the instant motion. Plaintiff, however, has not filed a response to

 date. Given that the deadline for Defendant to disclose its expert reports is December 27,




        1
          The Court notes that Defendant’s requested extension date of February 15, 2025 falls on a
 Saturday.
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 2024, and with the Court closed on Christmas Eve and Christmas Day next week, the Court

 will need sufficient time to review any responses filed before such time.

        Accordingly, on or before December 20, 2024, Plaintiff is directed to file a response to

 Defendant’s motion (Doc. 39) stating specific objections, if any, to Defendant’s requested

 extension of February 15, 2025 to disclose its expert reports. Failure to respond by the ordered

 date shall result in the Court treating the motion as unopposed.

        DONE and ORDERED in Ocala, Florida on December 18, 2024.




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




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